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             IN THE UNITED STATES DISTRICT COURT FOR•••^'
                                                                       PlUZihS
                 THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA,


V.                                              Case No.   CR418-119


JASMINE WATKINS,
                 Defendant




UNITED STATES OF AMERICA,


V.                                              Case No.   CR419-004


ROVONTAE DILLARD,
                 Defendant




                                 ORDER



      Ryan D. Langlois, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.           The Court is

mindful that personal and professional obligations require the

absence   of   counsel   on   occasion.   The    Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall
    Case 4:18-cr-00119-RSB-CLR Document 174 Filed 05/09/19 Page 2 of 2




proceed, status conferences, pretrial conferences, and        trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     so ORDERED this 7^ day of May 2018.



                                  HONOiSbLE WILLIAM T^MOORE, JR.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
